
Gkeen, J.
delivered the opinion of the court.
On the trial in this cause, the defendant offered in evidence under the plea of set-off, a note executed by the plaintiff to David Rutledge, and by him assigned to the defendant — but which note has been enjoined by the plaintiff, and the injunction bill is still pending. The court refused to permit the note to be read in evidence, in which we think he was clearly right. A suit is already pending in relation to this claim, probably in the only forum that can properly try the questions involved in the case.
The defendant ought not to have been permitted to bring his cross-action upon the same note by proving it as an off-set in this suit, when it is in litigation in the injunction bill.
If the plaintiff has no good defence, the defendant will get his judgment for the money enjoined against the complainant and his sureties. Affirm the judgment.
